     Case 7:23-cv-00343 Document 49-2 Filed on 10/18/24 in TXSD Page 1 of 6


 1                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
 2                            MCALLEN DIVISION
 3         JUANA CRUZ, OFELIA          )
           BENAVIDES, JOSE ELIAS       )
 4         N.G, GABRIELA VELAZQUEZ,    )
           HELESIO CRUZ, ANGELICA      )
 5         CHAVEZ, CONCEPCION PEREZ, )
           OLGA PEREZ, MAVRIGO         )
 6         SAENZ, JORGE MAOLEON,       )
           HECTOR SANCHEZ, HECTOR      )
 7         GONZALEZ, YESSY PEREZ       )
           MARTINEZ, MARIA DE          )
 8         LOURDES CRUZ, RESENDO       )
           LIEVANOS, ELIZABETH LARA, )
 9         LUIS ALBERTO ZUNIGIA        )
           CASTILLO, MIGUEL            )
10         CABALLERO SANCHEZ, CARLOS ) CASE NO: 7:23-CV-00343
           DANIEL LOPEZ, GILDA         )
11         RIVAS, ARMANDO MORALES DE )         JURY DEMANDED
           LLANO, LAZARO GARCIA,       )
12         MARIA DE JESUS MEDINA,      )
           RICHARD ESQUIVEL, RAFAEL    )
13         SANCHEZ, GUILLERMO RUIZ,    )
           ROSA QUINTANILLA,           )
14                                     )
                        PLAINTIFFS,    )
15                                     )
           VS.                         )
16                                     )
           DELGAR FOODS, LLC A/K/A     )
17         DELIA'S TAMALES,            )
                                       )
18                      DEFENDANT.     )
         *******************************************************
19                          ORAL DEPOSITION OF
20                              OLGA PEREZ
21                             June 26, 2024
22      ********************************************************
23                      ORAL DEPOSITION of OLGA PEREZ, produced
24      as a witness at the instance of the Defendant, and duly
25      sworn, was taken in the above-styled and numbered cause

                                                                    Page 1

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                                                                    EXHIBIT
                                      346-293-7000
                                                                      A-1
Case 7:23-cv-00343 Document 49-2 Filed on 10/18/24 in TXSD Page 2 of 6

 1   on the 26th day of June 2024, from 10:48 a.m. to            1                    INDEX
 2   1:59 p.m., before Priscilla R. Maldonado, CSR, in and       2                                           PAGE
 3   for the State of Texas, reported by machine shorthand,      3   Appearances..................................... 3
 4   at the Law Offices of Ricardo Gonzalez, 124 S. 12th Ave,    4   OLGA PEREZ
 5   Edinburg, Texas, pursuant to the Federal Rules of Civil     5      Examination By Mr. Quezada............... 4
 6   Procedure and the provisions stated on the record or        6   Changes and Signature........................... 81
 7   attached.                                                   7   Reporter's Certification........................ 83
 8                                                               8
 9                                                               9                EXHIBITS
10                                                              10   NUMBER DESCRIPTION                                    PAGE
11                                                              11   Exhibit 1 Declaration                        75
12                                                              12   Exhibit 2 Document                            79
13                                                              13
14                                                              14
15                                                              15
16                                                              16
17                                                              17
18                                                              18
19                                                              19
20                                                              20
21                                                              21
22                                                              22
23                                                              23
24                                                              24
25                                                              25
                                                       Page 2                                                               Page 4
 1           APPEARANCES
 2 COUNSEL FOR THE PLAINTIFFS:
                                                                 1            THE REPORTER: We are now on the record.
 3    RICARDO GONZALEZ                                           2   Today is June 26, 2024, and the time is 10:48 a.m.
      OXFORD & GONZALEZ
 4    124 SOUTH 12TH AVENUE                                      3            This is the oral deposition of Olga Perez,
      EDINBURG, TEXAS 78539                                      4   produced at the request of the Defendant in Case No.
 5    Tel: 956-383-5654
      RIC@OXFORDGONZALEZ.COM                                     5   7:23-CV-00343, styled Juana Cruz et. al. versus Delgar
 6                                                               6   Foods, LLC D/B/A Delia's.
 7 COUNSEL FOR THE DEFENDANT:
 8    STEPHEN J. QUEZADA                                         7            My name is Priscilla Maldonado, Texas CSR
      OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.             8   12025, representing Veritext.
 9    500 DALLAS ST., STE 3000
      HOUSTON, TEXAS 77002                                       9            Would counsel please state their appearance
10    Tel: 713-655-5757
      STEPHEN.QUEZADA@OGLETREE.COM
                                                                10   for the record?
11                                                              11             MR. QUEZADA: Stephen Quezada, for the
      LORENA D. VALLE
12    PORTER HEDGES LLP                                         12   Defendant.
      1000 MAIN STREET, 36TH FLOOR                              13             MR. GONZALEZ: Ricardo Gonzalez, for the
13    HOUSTON, TEXAS 77002-6341
      Tel: 713-226-6000                                         14   Plaintiffs.
14    LVALLE@PORTERHEDGES.COM                                   15             MS. VALLE: Lorena Valle, for the
15    ELIZABETH SANDOVAL CANTU
      RAMON WORTHINGTON NICOLAS & CANTU, PLLC                   16   Defendant.
16    1506 SOUTH LONE STAR WAY, SUITE 5
                                                                17                   OLGA PEREZ,
      EDINBURG, TEXAS 78539
17    Tel: 945-294-4800                                         18   having been first duly sworn, testified through the
      ECANTU@RAMONWORTHINGTON.COM
18
                                                                19   duly-sworn interpreter as follows:
19 ALSO PRESENT:                                                20                  EXAMINATION
20    NICOLAS GIBLER, INTERPRETER
      MIGUEL CABALLERO, PLAINTIFF                               21   BY MR. QUEZADA:
21    LUIS ZUNIGA, PLAINTIFF                                    22      Q. Good morning, Ms. Perez.
      ARMANDO MORALES DE LLANO, PLAINTIFF
22                                                              23      A. Good morning everyone.
23                                                              24      Q. For the record, there are some additional
24
25                                                              25   plaintiffs here in the room for us, Armando Morales, the
                                                       Page 3                                                               Page 5

                                                                                                                2 (Pages 2 - 5)
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Case 7:23-cv-00343 Document 49-2 Filed on 10/18/24 in TXSD Page 3 of 6

 1   asked, it's fair to assume that you've understood --        1   attorney, about today's deposition?
 2   understood it, correct?                                     2      A. No.
 3      A. Correct.                                              3      Q. Did you bring any documents with you today?
 4      Q. What did you do to prepare for today's                4      A. No.
 5   deposition?                                                 5      Q. What's your current address?
 6      A. My attorney prepared me.                              6      A. 2500 South Ware Road.
 7      Q. Okay. And I'm not asking you to tell me what          7      Q. Ware? W-A-R-E?
 8   your attorney told you. Okay?                               8      A. Yes. W-A-R-E.
 9      A. Of course.                                            9      Q. And is that a house?
10      Q. Okay. And so you met with your attorney about        10      A. It's an apartment.
11   the deposition, correct?                                   11      Q. And what's the apartment number?
12      A. Correct.                                             12      A. Number seven.
13      Q. For about how long?                                  13      Q. And is that in Edinburg?
14      A. Two hours about.                                     14      A. McAllen.
15      Q. And when and where was that?                         15      Q. And how long have you lived at that address?
16      A. What day was -- the 19th.                            16      A. 20 years.
17      Q. Of this month?                                       17      Q. What's the highest education -- what's the
18      A. Yes.                                                 18   highest level of education -- excuse me, that you've
19      Q. And for about how long? Oh, I think you said         19   achieved?
20   two hours, right?                                          20      A. Second semester high school equivalent to
21      A. Yes.                                                 21   Mexico preparatory school.
22      Q. Sorry. Wrong question. And where was that?           22      Q. And why are you suing Delia's?
23      A. Here.                                                23      A. For my dismissal -- my termination.
24      Q. At the offices we're in right now?                   24      Q. And that's the only reason, correct? Treated
25      A. Yes.                                                 25   unfairly?
                                                      Page 10                                                       Page 12

 1      Q. Okay. Did you review any documents in                 1       A. Well, it was not just my dismissal, but also
 2   preparation for today's deposition?                         2   because I felt discriminated -- and discriminated and
 3      A. No.                                                   3   treat unfairly.
 4      Q. Other than you and your attorney, was there           4            MR. QUEZADA: Well, she didn't say treated
 5   anyone else there in that preparation?                      5   unfairly. I asked.
 6      A. Yes.                                                  6       A. Yeah. For me, it was like being fired and
 7      Q. And who was that?                                     7   discriminated.
 8      A. Five more people.                                     8       Q. (BY MR. QUEZADA) Okay. So let me -- let me --
 9      Q. And who were they?                                    9   any other reason?
10      A. My fellow workers.                                   10       A. In my case.
11      Q. Can you tell us their names, please?                 11       Q. Is there any other reason or -- just those two.
12      A. Luis.                                                12   It's about the termination and you feeling
13      Q. And -- and if you could include their last name      13   discriminated, right?
14   also, please?                                              14       A. Well, at that time, yes. But the other word
15      A. I do not know all of their last names.               15   that I was looking for -- I felt discriminated but the
16      Q. Okay. Fair enough.                                   16   word I was looking for is -- I felt threatened.
17      A. Miguel, Armando, Ezequiel -- I think. And who        17       Q. Okay. So that completes the reasons that
18   else? And myself. But I'm missing one. Well, then          18   you're suing Delia's, correct?
19   maybe it was just us.                                      19       A. Yes.
20      Q. Okay.                                                20       Q. How did you come to join this lawsuit?
21      A. I don't recall the other person.                     21       A. Well, for the same reason, you know, that
22      Q. Okay. Did you review any documents in                22   powerlessness that we felt -- well, actually, that I
23   preparation for today's deposition?                        23   felt powerless. So that's why I joined this lawsuit.
24      A. No.                                                  24       Q. Well, let me ask you a better question. Okay?
25      Q. Have you spoken to anyone, other than your           25       A. Okay.
                                                      Page 11                                                       Page 13

                                                                                                      4 (Pages 10 - 13)
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Case 7:23-cv-00343 Document 49-2 Filed on 10/18/24 in TXSD Page 4 of 6

 1      Q. Can you tell us when you had to do that? Open          1   using a time clock that you would either punch in with a
 2   the stores.                                                  2   code, or use your fingerprint to access?
 3      A. Well, when I was told to open the store.               3      A. Oh, yes.
 4      Q. Fair enough. Let me ask a better question.             4      Q. How -- how would you do that? Did you use your
 5      A. Okay.                                                  5   fingerprint or a code?
 6      Q. Do you recall any dates when you had to open           6      A. With the fingerprint.
 7   the store?                                                   7      Q. Did you ever have a code at any time?
 8      A. Not -- okay. Well, not the dates, I don't -- I         8      A. To check in? To punch in?
 9   don't recall. But in December, for instance, they would      9      Q. To punch in, yes.
10   ask me to open the door -- I mean, open the store. But      10      A. Not for that.
11   they were not just in December, there were other            11      Q. Okay. What was it for? For like the cash
12   occasions that they simply ordered me to open the store.    12   register or something like that?
13      Q. Okay. If we think -- I guess I don't know that        13      A. Which?
14   I want to go month by month. But perhaps, that's the        14      Q. The code.
15   best way of doing it. Do you think that you opened the      15      A. Oh, for the alarm system, when you open up the
16   store more frequently in December than in other months?     16   store.
17      A. No. It could be any month.                            17      Q. Got it. Okay. And you knew that when you
18      Q. So can you tell us about how many times per           18   got -- well, when you got to work, you'd punch in with
19   month you'd have to open the store?                         19   your finger, correct?
20      A. I have no idea. I don't remember.                     20      A. That's correct.
21      Q. Do you recall at what time you would open the         21      Q. And when work was done, you'd punch out with
22   store when you would have to?                               22   your finger as well?
23      A. At opening time, at seven. And before, we used        23      A. That is correct.
24   to open at 6:00 a.m.                                        24      Q. Did you have lunch breaks?
25      Q. And that -- would that be the time that               25      A. Yes. 30 minutes.
                                                       Page 26                                                          Page 28

 1   customers started coming in or would customers come in       1      Q. And when you had that lunch break, you'd punch
 2   later?                                                       2   out with your finger and the punch back in when it was
 3      A. Well, when we opened at seven, they would begin        3   over, correct?
 4   to come in a little later. But when we opened at six,        4      A. Yes. That is correct.
 5   they would come at seven. So it's about an hour between      5      Q. Did you have any other breaks during the day?
 6   the time we open and when the customers come in.             6      A. No.
 7      Q. Okay. And I guess you had a key to the                 7      Q. The tasks that we discussed as a team leader,
 8   restaurant?                                                  8   or as a cook, those were tasks that you performed once
 9      A. That is correct.                                       9   you punched in and you performed them until you punched
10      Q. Any other tasks or duties as a team leader that       10   out, correct?
11   we haven't covered?                                         11      A. That is correct.
12      A. No. I think that -- that's all.                       12      Q. And at no time was somebody clocking in or out
13      Q. Okay. Around 2017, you recall -- did you --           13   for you, correct?
14   I'm sorry. Let me take a step back. Did you ever hire       14      A. No. It is correct.
15   or fire any employees?                                      15      Q. And you never punched in for anyone or never
16      A. No.                                                   16   punched out for anyone?
17      Q. Did you ever discipline employees?                    17      A. No.
18      A. No.                                                   18      Q. And is that because you knew that Delia's
19      Q. Did you ever approve vacation time or anything        19   required you to accurately record and report only your
20   like that?                                                  20   time?
21      A. No.                                                   21      A. Yeah. Each one of us checked individually.
22      Q. Okay. So do you recall in 2017, Delia's               22      Q. And, again, just to make sure that you
23   started using a timekeeping system?                         23   understood the question. You understood that Delia's
24      A. What do you mean timekeeping?                         24   required you to accurately record and report your own
25      Q. Okay. So do you recall in 2017, you started           25   time, correct?
                                                       Page 27                                                          Page 29

                                                                                                          8 (Pages 26 - 29)
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Case 7:23-cv-00343 Document 49-2 Filed on 10/18/24 in TXSD Page 5 of 6

 1      A. Yes. That's a company rule.                           1   correction? Meaning you felt comfortable going forward
 2      Q. And it's a rule that you always followed while        2   and saying, hey, this correction needs to be made.
 3   working for Delia's, right?                                 3      A. Yes.
 4      A. Of course.                                            4      Q. And you were never told not to do that, right?
 5      Q. And you received training on how to punch in          5      A. No.
 6   and punch out with the fingerprint system?                  6      Q. No they did not, right?
 7      A. Yes. They taught us.                                  7      A. No. They never told me.
 8      Q. Okay. Do you recall who did that?                     8      Q. Okay. Before your last supervisor, who was
 9      A. The manager. I don't recall which one of the          9   the -- who was your supervisor before the last one? I'm
10   managers, but it was a manager.                            10   sorry.
11      Q. And after you received that training, you felt       11      A. Supervisor?
12   comfortable using the time system?                         12      Q. Yes.
13      A. Yeah. It was -- it was fine. It was good.            13      A. Monica Juarez.
14      Q. Okay. And the system, it was called the Focus        14      Q. And at no point while using the time keeping
15   system, right?                                             15   system were you ever confused about how to use it,
16      A. I don't know what the name of it was.                16   correct?
17      Q. Okay. Who was your supervisor?                       17      A. That's correct.
18      A. I had a lot of them. Which one?                      18      Q. Okay. You mentioned copies of pay stubs. Do
19      Q. Who was -- who was the supervisor you had last?      19   you remember that?
20      A. Jesus Pena.                                          20      A. Yes.
21      Q. Okay. I feel the same way. Except my bosses          21      Q. Where are those?
22   are a 5 year old and a 2 year old. Okay. Do you have       22      A. At home.
23   any records that you kept, be it a calendar or a           23      Q. Okay. Is there any reason you wouldn't be able
24   notepad, of any hours worked by you at Delia's?            24   to provide those for us?
25      A. That if I have records?                              25      A. Yes. Because their mine.
                                                      Page 30                                                         Page 32

 1      Q. Yes.                                                  1      Q. Okay. Fair enough. Let me ask you this. Any
 2      A. From now? Or from then? Or before? Or how --          2   reason why we wouldn't be able to make a copy and give
 3   or what year?                                               3   you back the originals?
 4      Q. Do you have any records?                              4      A. Okay. Well, because then my attorney has them.
 5      A. Well, I have all of my check stubs. And all of        5      Q. Fair enough. Any other records of time worked
 6   the schedules and hours are there.                          6   that you've got, including anything that you wrote down
 7      Q. Okay. And you've looked at those check stubs?         7   on a calendar or a notebook? Or is the check stubs all
 8      A. Yes. They were mine.                                  8   you've got?
 9      Q. And you reviewed them when you received them?         9      A. Well, yes. For the earlier years.
10      A. Yes.                                                 10      Q. Okay. And what years would that be?
11      Q. And they were accurate and correctly reflected       11      A. Well, from the time when they didn't pay us
12   the time worked by you?                                    12   with a check, and they paid us with cash.
13      A. Well, yes. But occasionally the machine would        13      Q. And you started receiving a check in 2017,
14   make a mistake and you would be missing hours.             14   correct?
15      Q. That's right. And when those occasions               15      A. No. Some earlier -- some years before, we also
16   happened, you'd let someone know and it would get fixed;   16   received checks.
17   is that right?                                             17      Q. Okay. But in 2017, you only received a
18      A. Yes.                                                 18   paycheck?
19      Q. And you did that every time you noticed an           19      A. Yes.
20   error, correct?                                            20      Q. And that was for all your hours worked?
21      A. Of course.                                           21      A. Yes.
22      Q. And who would you tell? Someone in human             22      Q. There was no cash payment?
23   resources? Your supervisor?                                23      A. No. Because they were paying by check, but
24      A. The manager.                                         24   before, yes.
25      Q. And you never had any problem making that            25      Q. And that was before 2017, correct?
                                                      Page 31                                                         Page 33

                                                                                                        9 (Pages 30 - 33)
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Case 7:23-cv-00343 Document 49-2 Filed on 10/18/24 in TXSD Page 6 of 6

 1         I, OLGA PEREZ, have read the foregoing                                1             I further certify that pursuant to
   deposition and hereby affix my signature that same is                             FRCP Rule 30(f)(1) that the signature of the deponent:
 2 true and correct, except as noted above.                                      2
 3                                                                                            __X__ was requested by the deponent or a
                                                                                 3 party before the completion of the deposition and that
 4
                                                                                   the signature is to be before any notary public and
 5               _________________________________
                                                                                 4 returned within 30 days from date of receipt of the
                 OLGA PEREZ                                                        transcript. If returned, the attached Changes and
 6                                                                               5 Signature Page contains any changes and the reasons
 7                                                                                 therefor;
   THE STATE OF TEXAS )                                                          6
 8                                                                                            _____ was not requested by the deponent
   COUNTY OF _____________)                                                      7 or a party before the completion of the deposition.
 9                                                                               8               I further certify that I am neither
               Before me, ________________________, on                             counsel for, related to, nor employed by any of the
10 this day personally appeared OLGA PEREZ, known to me (or                      9 parties or attorney in the action in which this
   proved to me under oath or through                                              proceeding was taken, and further that I am not
                                                                                10 financially or otherwise interested in the outcome of
11 ______________________)(description of identity card or
                                                                                   the action.
   other document) to be the person whose name is                               11
12 subscribed to the foregoing instrument and acknowledged                      12               Certified to by me this July 11, 2024.
   to me that they executed the same for the purposes and                       13
13 consideration therein expressed.                                             14
14               Given under my hand and seal of                                                 <%32255,Signature%>
   office this ______ day of ________________, 2024.                            15               Priscilla Maldonado, CSR 12025
15                                                                                               Expiration Date: 06-30-2025
16                                                                              16               Veritext Legal Solutions
17         ___________________________________________                                           Firm Registration No. 571
           Notary Public in and for the State of Texas                          17               300 Throckmorton Street, Suite 1600
18                                                                                               Fort Worth, Texas 76102
                                                                                18               817-336-3042
19
                                                                                19
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22                                                                              22
23                                                                              23
24                                                                              24
25 Job No. HOU6734283                                                           25
                                                           Page 82                                                                            Page 84
 1         IN THE UNITED STATES DISTRICT COURT
           FOR THE SOUTHERN DISTRICT OF TEXAS                                    1 RICARDO GONZALEZ
 2             MCALLEN DIVISION
 3    JUANA CRUZ, OFELIA        )
                                                                                 2 RIC@OXFORDGONZALEZ.COM
      BENAVIDES, JOSE ELIAS        )                                             3                  July 11, 2024
 4    N.G, GABRIELA VELAZQUEZ, )
      HELESIO CRUZ, ANGELICA )                                                   4 RE: Cruz, Juana, Et Al v. Delgar Foods LLC, Et Al.
 5    CHAVEZ, CONCEPCION PEREZ, )
      OLGA PEREZ, MAVRIGO            )                                           5     6/26/2024, Olga Perez (#6734283)
 6    SAENZ, JORGE MAOLEON,            )
      HECTOR SANCHEZ, HECTOR )                                                   6     The above-referenced transcript is available for
 7    GONZALEZ, YESSY PEREZ            )
      MARTINEZ, MARIA DE          )                                              7 review.
 8    LOURDES CRUZ, RESENDO              )
      LIEVANOS, ELIZABETH LARA, )                                                8     Within the applicable timeframe, the witness should
 9    LUIS ALBERTO ZUNIGIA          )
      CASTILLO, MIGUEL        )
                                                                                 9 read the testimony to verify its accuracy. If there are
10    CABALLERO SANCHEZ, CARLOS ) CASE NO: 7:23-CV-00343                        10 any changes, the witness should note those with the
      DANIEL LOPEZ, GILDA        )
11    RIVAS, ARMANDO MORALES DE )          JURY DEMANDED                        11 reason, on the attached Errata Sheet.
      LLANO, LAZARO GARCIA,            )
12    MARIA DE JESUS MEDINA, )                                                  12     The witness should sign the Acknowledgment of
      RICHARD ESQUIVEL, RAFAEL )
13    SANCHEZ, GUILLERMO RUIZ, )                                                13 Deponent and Errata and return to the deposing attorney.
      ROSA QUINTANILLA,         )
14                  )                                                           14 Copies should be sent to all counsel, and to Veritext at
             PLAINTIFFS, )
15                  )
                                                                                15 errata-tx@veritext.com.
      VS.             )                                                         16 Return completed errata within 30 days from
16                  )
      DELGAR FOODS, LLC A/K/A )                                                 17 receipt of testimony.
17    DELIA'S TAMALES,       )
                    )                                                           18 If the witness fails to do so within the time
18           DEFENDANT. )
     *******************************************************                    19 allotted, the transcript may be used as if signed.
19
20               REPORTER'S CERTIFICATION                                       20
                 DEPOSITION OF OLGA PEREZ
21                   June 26, 2024
                                                                                21
22           I, Priscilla Maldonado, Certified Shorthand                        22            Yours,
     Reporter in and for the State of Texas, hereby certify
23   to the following:                                                          23            Veritext Legal Solutions
24                  That the witness, OLGA PEREZ, was
     duly sworn by the officer and that the transcript of the                   24
25   oral deposition is a true record of the testimony given
     by the witness;                                                            25
                                                                      Page 83                                                                 Page 85

                                                                                                                                  22 (Pages 82 - 85)
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                                                                     346-293-7000
